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                        EXHIBIT 22




                                                                         UBSMTC307
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From:                             Allen, Robert (CC)
Sent:                             Tuesday, May 11, 2021 1:29 PM
To:                               'Frances A. Smith'; Eric Soderlund
Cc:                               Judith Ross; Charles Cowden; Debra.Dandeneau@bakermckenzie.com; Michael
                                  Coulombe; Clubok, Andrew (DC); Tomkowiak, Sarah (DC); George, Katie (CH); #C-M
                                  UBS HIGHLAND - LW TEAM
Subject:                          RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v.
                                  Highland Capital Management, L.P.
Attachments:                      2021-05-11 Executed Confidentiality Agreement.pdf; UBS TRO Complaint [SEALED].pdf


Thank you, Frances. Attached please find the fully executed confidentiality agreement as well as the sealed complaint,
which we are sharing pursuant to the limitations of the confidentiality agreement.

Best,

Robert E. Allen

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5563

From: Frances A. Smith <Frances.Smith@judithwross.com>
Sent: Tuesday, May 11, 2021 11:05 AM
To: Allen, Robert (CC) <Robert.Allen@lw.com>; Eric Soderlund <Eric.Soderlund@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>;
Debra.Dandeneau@bakermckenzie.com; Michael Coulombe <michael.coulombe@judithwross.com>; Clubok, Andrew
(DC) <Andrew.Clubok@lw.com>; Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; George, Katie (CH)
<kathryn.george@lw.com>; #C-M UBS HIGHLAND - LW TEAM <UBSHIGHLAND.LWTEAM@lw.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Robert,

We are fine with your additional change. Please see the attached executed agreement. Please execute and return with
a copy of the Complaint.

Best regards,

Frances


Frances A. Smith, Shareholder
Ross & Smith, PC
Plaza of the Americas
700 N. Pearl Street, Ste. 1610
Dallas, TX 75201
T 214.377.7879 │D 214.593.4976 │F 214.377.9409
Frances.smith@judithwross.com
www.judithwross.com
                                                           1
                                                                                                UBSMTC308
        Case 21-03020-sgj Doc 75-23 Filed 05/20/21                Entered 05/20/21 20:44:37           Page 3 of 16




From: Robert.Allen@lw.com <Robert.Allen@lw.com>
Sent: Monday, May 10, 2021 8:42 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>; Eric Soderlund <Eric.Soderlund@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>;
Debra.Dandeneau@bakermckenzie.com; Michael Coulombe <michael.coulombe@judithwross.com>;
Andrew.Clubok@lw.com; Sarah.Tomkowiak@lw.com; kathryn.george@lw.com; UBSHIGHLAND.LWTEAM@lw.com
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Frances,

Your changes to the confidentiality agreement are fine with us. Here is a clean of the agreement and a redline with one
additional change. If this is acceptable, please sign and send back and we will send you the Complaint pursuant to the
terms of that agreement.

As for the subpoenas, we will not agree to an undefined extension to the document or deposition subpoena dates. Your
clients and/or their counsel have now had these subpoenas for over a month, and any delay in receiving the Complaint
has been of your own making, as we first offered to share it with you as early as our initial letter on April 22, an offer we
reiterated again April 29. We also informed you on May 5 that we would reissue the subpoenas for dates this week and
next but would be willing to discuss mutually agreeable dates if your clients had legitimate reasons that a particular
noticed date does not work, which again you did not respond to. As a result, we noticed the subpoenas and will expect
your clients to comply with those subpoenas absent a court order or you agreeing to an otherwise mutually agreed date
in the near future for the documents and depositions.

Best,

Robert E. Allen

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                                                                                                    UBSMTC309
        Case 21-03020-sgj Doc 75-23 Filed 05/20/21               Entered 05/20/21 20:44:37           Page 4 of 16
LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5563

From: Frances A. Smith <Frances.Smith@judithwross.com>
Sent: Monday, May 10, 2021 3:55 PM
To: Allen, Robert (CC) <Robert.Allen@lw.com>; Eric Soderlund <Eric.Soderlund@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>;
Debra.Dandeneau@bakermckenzie.com; Michael Coulombe <michael.coulombe@judithwross.com>; Clubok, Andrew
(DC) <Andrew.Clubok@lw.com>; Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; George, Katie (CH)
<kathryn.george@lw.com>; #C-M UBS HIGHLAND - LW TEAM <UBSHIGHLAND.LWTEAM@lw.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Dear Robert,

Thank you for your email of Thursday evening. We have reviewed the Confidentiality Agreement and identified a few
minor issues. Please see the attached proposed revisions. We have copied our clients and are still awaiting their input.

We request that you pull down or agree to an extension of your request for document production and all deposition
notices (sent Saturday evening by separate email) until we have had an opportunity to review the Complaint. We will
not be producing documents tomorrow. We have agreed that our Client will not discuss the defined Highly Confidential
Material, which includes the Complaint, with anyone other than their counsel, which means that they cannot discuss the
Highly Confidential Material amongst themselves. Therefore, we have to discuss the document requests with each one
of our Clients separately. Given that Mr. Sevilla is out of the country, and Ms. Lucas is on disability, we will not be able
to accomplish that on a short timeline. Again, we don’t understand why this discovery is an emergency. To the extent
that we have no objections to the requests after we review the Complaint, we will agree to produce responsive
documents within 10 days after receipt of the Complaint. We reserve all rights to object once we review the Complaint.

Frances

Frances A. Smith, Shareholder
Ross & Smith, PC
Plaza of the Americas
700 N. Pearl Street, Ste. 1610
Dallas, TX 75201
T 214.377.7879 │D 214.593.4976 │F 214.377.9409
Frances.smith@judithwross.com
www.judithwross.com



From: Robert.Allen@lw.com <Robert.Allen@lw.com>
Sent: Thursday, May 6, 2021 9:05 PM
To: Eric Soderlund <Eric.Soderlund@judithwross.com>; Frances A. Smith <Frances.Smith@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>;
Debra.Dandeneau@bakermckenzie.com; Michael Coulombe <michael.coulombe@judithwross.com>;
Andrew.Clubok@lw.com; Sarah.Tomkowiak@lw.com; kathryn.george@lw.com; UBSHIGHLAND.LWTEAM@lw.com
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Eric,


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                                                                                                   UBSMTC310
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Attached please find the draft confidentiality agreement for your review.

Please let us know if you have any questions.

Best,

Robert E. Allen

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5563

From: Allen, Robert (CC)
Sent: Wednesday, May 5, 2021 7:43 PM
To: 'Eric Soderlund' <Eric.Soderlund@judithwross.com>; Frances A. Smith <Frances.Smith@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>;
Debra.Dandeneau@bakermckenzie.com; Michael Coulombe <michael.coulombe@judithwross.com>; Clubok, Andrew
(DC) <Andrew.Clubok@lw.com>; Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; George, Katie (CH)
<Kathryn.George@lw.com>; #C-M UBS HIGHLAND - LW TEAM <UBSHIGHLAND.LWTEAM@lw.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Eric,

Thank you for your reply. We will prepare and circulate tomorrow a draft confidentiality agreement for your review that
reflects your and your clients’ agreement to keep the contents of and allegations in the complaint confidential. Upon
receipt of your signature, we will send you the complaint. The same goes for Baker & McKenzie, please confirm that you
will coordinate getting their signature as well.

We appreciate that you will promptly inform us whether your clients intend to comply with the subpoenas or whether
they still intend to move to quash, but time remains of the essence, and it took you almost a full week to respond to our
April 29 offer to share the complaint. Thus, in the interim, we will re-issue the subpoenas for production and deposition
dates for the end of next week and the week of May 17, by which time your clients will have had ample time to evaluate
the complaint, respond to the subpoenas and prepare for any deposition. If Ms. Lucas requires a reasonable
accommodation due to her maternity leave, we are happy to discuss that with you. With regard to Messrs. Ellington,
Leventon, DiOrio, and Sevilla, we expect that they will comply with their obligations pursuant to the subpoenas, but if
there is a legitimate reason that a particular noticed date does not work (planned travel, personal appointments, etc.)
we are willing to discuss a mutually agreeable alternative. We understand that you will need to speak with each of your
clients in turn, but please keep us informed, on a rolling basis, as you become aware of each client’s intention to comply
with or challenge the subpoenas.

Best,

Robert E. Allen

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5563

From: Eric Soderlund <Eric.Soderlund@judithwross.com>
Sent: Wednesday, May 5, 2021 10:47 AM
To: Allen, Robert (CC) <Robert.Allen@lw.com>; Frances A. Smith <Frances.Smith@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>;

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                                                                                                  UBSMTC311
        Case 21-03020-sgj Doc 75-23 Filed 05/20/21                            Entered 05/20/21 20:44:37                  Page 6 of 16

Debra.Dandeneau@bakermckenzie.com; Michael Coulombe <michael.coulombe@judithwross.com>; Clubok, Andrew
(DC) <Andrew.Clubok@lw.com>; Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; George, Katie (CH)
<kathryn.george@lw.com>; #C-M UBS HIGHLAND - LW TEAM <UBSHIGHLAND.LWTEAM@lw.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.


Robert,

We agree that if you share the complaint with us, we will not share or discuss or convey directly or indirectly the
substance or nature of the contents of or allegations in the complaint with anyone else, besides each other and our
clients. For the avoidance of doubt, we will counsel our clients not to talk to each other or anyone but their counsel (i.e.,
Baker & McKenzie and Ross & Smith) concerning its contents.

We also will endeavor to promptly inform you whether our clients intend to comply with the subpoenas, produce any
responsive documents, and appear for depositions, or whether they still intend to move to quash. We cannot agree to
an arbitrary 3-business-day response period, however, as we have multiple clients (and cannot talk to them all at once
per your request), at least one of whom has vacation plans this month while another is on maternity leave.
Nevertheless, we will not unduly delay communicating with you about our intentions concerning UBS’s discovery
requests and deposition notices. After we have an opportunity to review the unsealed Complaint, we reserve the right
to request the additional sealed pleadings.

Best regards,

Eric Soderlund
Ross & Smith, PC
700 N. Pearl Street Suite 1610
Dallas, TX 75201
Mobile: 214-215-3492
Fax: 214-377-9409
Email: eric.soderlund@judithwross.com
Web: www.judithwross.com

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intended only for the use of the individual or entity named above. If the reader of this message is not the intended recipient, you are hereby
notified that any dissemination, distribution or duplication of this transmission is strictly prohibited. If you have received this communication in
error, please notify us by telephone or email immediately and return the original message to us or destroy all printed and electronic copies.
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otherwise expressly indicated. Intentional interception or dissemination of electronic mail not belonging to you may violate federal or state law.
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used, and cannot be used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing or recommending
any transaction or matter addressed in this communication.




From: Robert.Allen@lw.com <Robert.Allen@lw.com>
Sent: Tuesday, May 4, 2021 12:32 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Debra.Dandeneau@bakermckenzie.com; Michael Coulombe
<michael.coulombe@judithwross.com>; Andrew.Clubok@lw.com; Sarah.Tomkowiak@lw.com; kathryn.george@lw.com;
UBSHIGHLAND.LWTEAM@lw.com
                                                                         5
                                                                                                                       UBSMTC312
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Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Hi Frances,

Following up on our offer to share the adversary complaint. Please let us know whether your clients will agree to these
terms.

Best,

Robert E. Allen

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5563

From: Frances A. Smith <Frances.Smith@judithwross.com>
Sent: Thursday, April 29, 2021 4:12 PM
To: Allen, Robert (CC) <Robert.Allen@lw.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Debra.Dandeneau@bakermckenzie.com; Michael Coulombe
<michael.coulombe@judithwross.com>; Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; Tomkowiak, Sarah (DC)
<Sarah.Tomkowiak@lw.com>; George, Katie (CH) <kathryn.george@lw.com>; #C-M UBS HIGHLAND - LW TEAM
<UBSHIGHLAND.LWTEAM@lw.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Robert,

Thank you for your email. We will discuss and get back to you asap.

Frances




From: Robert.Allen@lw.com <Robert.Allen@lw.com>
Sent: Thursday, April 29, 2021 5:52 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Debra.Dandeneau@bakermckenzie.com; Michael Coulombe
<michael.coulombe@judithwross.com>; Andrew.Clubok@lw.com; Sarah.Tomkowiak@lw.com; kathryn.george@lw.com;
UBSHIGHLAND.LWTEAM@lw.com
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Hi Frances,

We are writing in regards to your prior request to review the adversary complaint. In its order authorizing UBS to effect
alternative service of its subpoenas on Mr. Dondero (attached), the Court ordered UBS to share the sealed complaint
with Mr. Dondero and his counsel, but restricted Mr. Dondero and his counsel “from sharing or discussing or conveying
directly or indirectly the substance or nature of the contents of or allegations in the Complaint with anyone else, other
than amongst themselves (i.e., between James Dondero and his counsel at Bonds Ellis).”

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We are willing to share the complaint with you and your clients if you will all similarly agree that you will not share or
discuss or convey directly or indirectly the substance or nature of the contents of or allegations in the complaint with
anyone else. For the avoidance of doubt, while each of your clients would be free to discuss the complaint with you, as
counsel, they would be precluded from discussing the complaint amongst each other. In exchange, we ask that you
promptly inform us, within 3 business days of receiving the complaint, whether your clients intend to comply with the
subpoenas, produce any responsive documents, and work with us to schedule mutually acceptable dates for the
depositions, or whether they still intend to move to quash.

Best,

Robert E. Allen

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5563

From: Frances A. Smith <Frances.Smith@judithwross.com>
Sent: Monday, April 26, 2021 2:56 PM
To: Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; George, Katie (CH) <kathryn.george@lw.com>; Clubok,
Andrew (DC) <Andrew.Clubok@lw.com>; Bjork, Jeff (LA) <Jeff.Bjork@lw.com>; Posin, Kimberly (LA)
<Kim.posin@lw.com>; martin.sosland@butlersnow.com; candice.carson@butlersnow.com
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Debra.Dandeneau@bakermckenzie.com; Michael Coulombe
<michael.coulombe@judithwross.com>; Allen, Robert (CC) <Robert.Allen@lw.com>; Attarwala, Asif (CH)
<Asif.Attarwala@lw.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Me and Eric Soderlund.

Frances

From: Sarah.Tomkowiak@lw.com <Sarah.Tomkowiak@lw.com>
Sent: Monday, April 26, 2021 4:54 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>; kathryn.george@lw.com; Andrew.Clubok@lw.com;
Jeff.Bjork@lw.com; Kim.posin@lw.com; martin.sosland@butlersnow.com; candice.carson@butlersnow.com
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Debra.Dandeneau@bakermckenzie.com; Michael Coulombe
<michael.coulombe@judithwross.com>; Robert.Allen@lw.com; Asif.Attarwala@lw.com
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

We can do 1:30 CT. Please let us know who to include on the invite.


Sarah A. Tomkowiak

LATHAM & WATKINS LLP
555 Eleventh Street, NW | Suite 1000 | Washington, D.C. 20004-1304
D: +1.202.637.2335 | M: +1.217.417.3312



From: Frances A. Smith <Frances.Smith@judithwross.com>
                                                             7
                                                                                                   UBSMTC314
         Case 21-03020-sgj Doc 75-23 Filed 05/20/21               Entered 05/20/21 20:44:37           Page 9 of 16

Date: Monday, Apr 26, 2021, 2:44 PM
To: George, Katie (CH) <kathryn.george@lw.com>, Clubok, Andrew (DC) <Andrew.Clubok@lw.com>, Bjork, Jeff (LA)
<Jeff.Bjork@lw.com>, Posin, Kimberly (LA) <Kim.posin@lw.com>, martin.sosland@butlersnow.com
<martin.sosland@butlersnow.com>, candice.carson@butlersnow.com <candice.carson@butlersnow.com>, Tomkowiak, Sarah
(DC) <Sarah.Tomkowiak@lw.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>, Charles Cowden <charles.cowden@judithwross.com>, Eric Soderlund
<Eric.Soderlund@judithwross.com>, Debra.Dandeneau@bakermckenzie.com <Debra.Dandeneau@bakermckenzie.com>,
Michael Coulombe <michael.coulombe@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Katie,

I apologize. I have a conflict at 2:30 PM tomorrow that will last about an hour, but I can to 1:30 PM or 3:30 PM
CT. Please let me know if either of those works for you.


Frances




From: Frances A. Smith
Sent: Monday, April 26, 2021 4:13 PM
To: kathryn.george@lw.com; Andrew.Clubok@lw.com; Jeff.Bjork@lw.com; Kim.posin@lw.com;
martin.sosland@butlersnow.com; candice.carson@butlersnow.com; Sarah.Tomkowiak@lw.com
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Debra.Dandeneau@bakermckenzie.com; Michael Coulombe
<michael.coulombe@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Katie,

Thank you for your response. Are you saying that the only parties attending the depositions will be the Debtor and UBS
representatives and their respective counsel? No other non-parties, i.e. the UCC, will be attending the various non-party
depositions? Please clarify/confirm.

Also, to be clear, we are willing to agree to maintain confidentiality, but not subject to certain of the conditions that you
are seeking to impose, which are entirely unrelated to confidentiality issues. But we can discuss those tomorrow. We
are available at 2:30 PM CT as you suggested.

Best regards,

Frances

From: kathryn.george@lw.com <kathryn.george@lw.com>
Sent: Monday, April 26, 2021 3:53 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>; Andrew.Clubok@lw.com; Jeff.Bjork@lw.com;
Kim.posin@lw.com; martin.sosland@butlersnow.com; candice.carson@butlersnow.com; Sarah.Tomkowiak@lw.com
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Debra.Dandeneau@bakermckenzie.com; Michael Coulombe
                                                              8
                                                                                                    UBSMTC315
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<michael.coulombe@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Frances,

We will not be allowing non-party deponents or their counsel into the deposition tomorrow. During the deposition, we
will be discussing highly confidential information underlying the adversary proceeding, which this Court found just cause
to seal in granting UBS’s motion to seal the adversary proceeding complaint and TRO motion.

As noted in Sarah’s letter, we are willing to share the complaint with you pursuant to certain conditions, which we look
forward to discussing with you tomorrow afternoon.

Best,
Katie



From: Frances A. Smith <Frances.Smith@judithwross.com>
Sent: Monday, April 26, 2021 2:19 PM
To: Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; Bjork, Jeff (LA) <Jeff.Bjork@lw.com>; Posin, Kimberly (LA)
<Kim.posin@lw.com>; martin.sosland@butlersnow.com; candice.carson@butlersnow.com; George, Katie (CH)
<kathryn.george@lw.com>
Cc: Judith Ross <Judith.Ross@judithwross.com>; Charles Cowden <charles.cowden@judithwross.com>; Eric Soderlund
<Eric.Soderlund@judithwross.com>; Dandeneau, Debra A. <Debra.Dandeneau@bakermckenzie.com>; Michael
Coulombe <michael.coulombe@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Katie,

It appears that there is a deposition of Cliff Stoops scheduled for tomorrow morning at 9:00 AM. We would like to
attend to listen in only. We will not be asking any questions. Can you please see that we are copied on the deposition
information?

Best regards,

Frances


Frances A. Smith, Shareholder
Ross & Smith, PC
Plaza of the Americas
700 N. Pearl Street, Ste. 1610
Dallas, TX 75201
T 214.377.7879 │D 214.593.4976 │F 214.377.9409
Frances.smith@judithwross.com
www.judithwross.com




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                                                                                                 UBSMTC316
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From: kathryn.george@lw.com <kathryn.george@lw.com>
Sent: Friday, April 23, 2021 5:13 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>; Sarah.Tomkowiak@lw.com
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>; Michael Coulombe <michael.coulombe@judithwross.com>;
Andrew.Clubok@lw.com; Jeff.Bjork@lw.com; Kim.posin@lw.com; martin.sosland@butlersnow.com;
candice.carson@butlersnow.com; Charles Cowden <charles.cowden@judithwross.com>; Judith Ross
<Judith.Ross@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Frances, confirmed, all of your clients’ depositions are off for Tuesday.

We will find a time that works for our side to talk and get back to you.

Best,
Katie



From: Frances A. Smith <Frances.Smith@judithwross.com>
Date: Friday, Apr 23, 2021, 4:58 PM
To: George, Katie (CH) <kathryn.george@lw.com>, Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>, Michael Coulombe <michael.coulombe@judithwross.com>, Clubok,
Andrew (DC) <Andrew.Clubok@lw.com>, Bjork, Jeff (LA) <Jeff.Bjork@lw.com>, Posin, Kimberly (LA) <Kim.posin@lw.com>,
martin.sosland@butlersnow.com <martin.sosland@butlersnow.com>, candice.carson@butlersnow.com
<candice.carson@butlersnow.com>, Charles Cowden <charles.cowden@judithwross.com>, Judith Ross
<Judith.Ross@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Katie,

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As long as you confirm by return email that all the Depositions are off for Tuesday, we will hold off on filing the Motion
to Quash. We can meet on Tuesday afternoon if that works.

Frances


Frances A. Smith, Shareholder
Ross & Smith, PC
Plaza of the Americas
700 N. Pearl Street, Ste. 1610
Dallas, TX 75201
T 214.377.7879 │D 214.593.4976 │F 214.377.9409
Frances.smith@judithwross.com
www.judithwross.com




From: kathryn.george@lw.com <kathryn.george@lw.com>
Sent: Friday, April 23, 2021 4:53 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>; Sarah.Tomkowiak@lw.com
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>; Michael Coulombe <michael.coulombe@judithwross.com>;
Andrew.Clubok@lw.com; Jeff.Bjork@lw.com; Kim.posin@lw.com; martin.sosland@butlersnow.com;
candice.carson@butlersnow.com; Charles Cowden <charles.cowden@judithwross.com>; Judith Ross
<Judith.Ross@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Frances,

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Can you clarify the basis for your motion to quash? I was under the impression that we would meet and confer first (and
we are willing to do so regarding the time/date/scope of the subpoenas as we stated in our letter). In fact, we held off
on noticing the depositions with the Court for next Tuesday assuming we would meet and confer on the details in good
faith first.

Unfortunately we are not available next Tuesday morning. Please let us know other times early next week that work for
you.

Best,
Katie



From: Frances A. Smith <Frances.Smith@judithwross.com>
Date: Friday, Apr 23, 2021, 3:59 PM
To: George, Katie (CH) <kathryn.george@lw.com>, Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>, Michael Coulombe <michael.coulombe@judithwross.com>, Clubok,
Andrew (DC) <Andrew.Clubok@lw.com>, Bjork, Jeff (LA) <Jeff.Bjork@lw.com>, Posin, Kimberly (LA)
<Kim.posin@lw.com>, martin.sosland@butlersnow.com <martin.sosland@butlersnow.com>, candice.carson@butlersnow.com
<candice.carson@butlersnow.com>, Charles Cowden <charles.cowden@judithwross.com>, Judith Ross
<Judith.Ross@judithwross.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Katie,

We have reviewed your letter.

We will be filing a Motion to Quash the Subpoenas on behalf of our clients this afternoon. Please let me know if UBS will
be opposed to the motion. In light of the Motion to Quash, we will not be presenting our clients for depositions on
Tuesday.

Are you available Tuesday morning at 9:30 CT to confer regarding your letters and your proposed discovery? If so, I will
send a Zoom invite.

Best regards,

Frances




From: Frances A. Smith
Sent: Thursday, April 22, 2021 2:26 PM
To: kathryn.george@lw.com; Sarah.Tomkowiak@lw.com
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>; Michael Coulombe <michael.coulombe@judithwross.com>;
Andrew.Clubok@lw.com; Jeff.Bjork@lw.com; Kim.posin@lw.com; martin.sosland@butlersnow.com;
candice.carson@butlersnow.com
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Katie,


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Thank you for your response. I have a hearing this afternoon at 2:30 PM in another matter that is likely going to last the
rest of the afternoon so this afternoon will not work. But I will review the letter and respond with a proposed time.

Best regards,

Frances


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T 214.377.7879 │D 214.593.4976 │F 214.377.9409
Frances.smith@judithwross.com
www.judithwross.com




From: kathryn.george@lw.com <kathryn.george@lw.com>
Sent: Thursday, April 22, 2021 1:37 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>; Sarah.Tomkowiak@lw.com
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>; Michael Coulombe <michael.coulombe@judithwross.com>;
Andrew.Clubok@lw.com; Jeff.Bjork@lw.com; Kim.posin@lw.com; martin.sosland@butlersnow.com;
candice.carson@butlersnow.com
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Counsel,


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Please see the attached correspondence. As noted, we are available this afternoon to have a call.

Best,
Katie

From: Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>
Sent: Wednesday, April 21, 2021 3:27 PM
To: Frances A. Smith <Frances.Smith@judithwross.com>
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>; Michael Coulombe <michael.coulombe@judithwross.com>;
Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; Bjork, Jeff (LA) <Jeff.Bjork@lw.com>; Posin, Kimberly (LA)
<Kim.posin@lw.com>; martin.sosland@butlersnow.com; candice.carson@butlersnow.com; George, Katie (CH)
<kathryn.george@lw.com>
Subject: RE: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Counsel:

I am confirming receipt of your correspondence from today and yesterday regarding Adversary Proceeding No. 21-
03020-sgj and the Notices of Subpoena and Deposition.

We will respond by tomorrow, and we appreciate your offer to meet and confer. We will include our availability for a
call along with our response.

Please include my colleague Katie George, copied here, on future correspondence relating to this matter.

Best,

Sarah A. Tomkowiak

LATHAM & WATKINS LLP
555 Eleventh Street, NW | Suite 1000 | Washington, D.C. 20004-1304
D: +1.202.637.2335 | M: +1.217.417.3312




From: Frances A. Smith <Frances.Smith@judithwross.com>
Sent: Wednesday, April 21, 2021 4:02 PM
To: Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; Bjork, Jeff
(LA) <Jeff.Bjork@lw.com>; Posin, Kimberly (LA) <Kim.posin@lw.com>; martin.sosland@butlersnow.com;
candice.carson@butlersnow.com
Cc: Eric Soderlund <Eric.Soderlund@judithwross.com>; Michael Coulombe <michael.coulombe@judithwross.com>
Subject: FW: Adv. Proc. No. 21-03020-sgj; UBS Securities LLC and UBS AG London Branch v. Highland Capital
Management, L.P.

Dear Counsel,

Please see the attached correspondence regarding Adversary Proceeding No. 21-03020-sgj styled UBS Securities LLC and
UBS AG London Branch v. Highland Capital Management, L.P., et al.

Also, following up on the email from Katie Zinecker at Baker McKenzie dated April 8, 2021, as stated therein, we are
willing in the spirit of cooperation, to discuss the Notices of Subpoena and Notices of Deposition with you.


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I look forward to your response and am happy to meet and confer regarding the Document Requests and Deposition
Notices referenced therein.

Best regards,

Frances


Frances A. Smith, Shareholder
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Dallas, TX 75201
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_________________________________

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